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 STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.
 0       Valuation of Security          0     Assumption of Executory Contract or unexpired Lease           2     Lien Avoidance


                                                                                                      Last revised: November 14, 2023

                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY
In Re:                                                                                    Case No.:                  24-

Mark H. Cho
                                                                                          Judge:
Helen Cho
                      Debtor(s)

                                                      Chapter 13 Plan and Motions

          տ Original                              տ Modified/Notice Required                            Date: 7-2-24
          տ Motions Included                      տ Modified/No Notice Required

                                              THE DEBTOR HAS FILED FOR RELIEF UNDER
                                               CHAPTER 13 OF THE BANKRUPTCY CODE

                                                     YOUR RIGHTS WILL BE AFFECTED

 The Court issued a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation hearing on the
 Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
 carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it
 must file a written objection within the time frame stated in the Notice. Your rights may be affected by this plan. Your claim may be
 reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may be granted without
 further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may confirm this plan, if
 there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions to avoid or modify a
 lien, the lien avoidance or modification may take place solely within the Chapter 13 confirmation process. The plan confirmation order
 alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or modify a lien based
 on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said treatment must file a timely
 objection and appear at the confirmation hearing to prosecute same.


 The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
 includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
 ineffective if set out later in the plan.

THIS PLAN:

տ DOES տ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

տ DOES տ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH MAY
RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN PART
7, IF ANY, AND SPECIFY: տ 7a / տ 7b / տ 7 c.

տ DOES տ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST. SEE
MOTIONS SET FORTH IN PART 7, IF ANY, AND SPECIFY: տ 7a / տ 7b / տ 7 c.



Initial Debtor(s)’ Attorney:   /s/RAF   Initial Debtor:     /s/MHC   Initial Co-Debtor:       /s/HC
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Part 1: Payment and Length of Plan


    a. The debtor shall pay to the Chapter 13 Trustee $               $4,500.00    monthly for    30   months starting on the
        first of the month following the filing of the petition. (If tier payments are proposed) : and then $ $6,000.00 per
        month for       30   months; $                per month for      months, for a total of    months.

    b. The debtor shall make plan payments to the Trustee from the following sources:

           տ      Future earnings

           տ      Other sources of funding (describe source, amount and date when funds are available):




    c. Use of real property to satisfy plan obligations:

       տ Sale of real property
         Description:
           Proposed date for completion:

      տ Refinance of real property:
        Description:
        Proposed date for completion:

      տ Loan modification with respect to mortgage encumbering real property:
        Description:
        Proposed date for completion:

    d. տ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification. See also

           Part 4.

       տ If a Creditor filed a claim for arrearages, the arrearages տ will / տ will not be paid by the Chapter 13

           Trustee pending an Order approving sale, refinance, or loan modification of the real property.


    e. For debtors filing joint petition:

      տ Debtors propose to have the within Chapter 13 Case jointly administered. If any party objects to joint

        administration, an objection to confirmation must be timely filed. The objecting party must appear at

        confirmation to prosecute their objection.



          Initial Debtor:    /s/MCH      Initial Co-Debtor:   /s/HC
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 Part 2: Adequate Protection տ NONE


       a. Adequate protection payments will be made in the amount of $ ________________ to be paid to the Chapter 13
Trustee and disbursed pre-confirmation to                                     (creditor). (Adequate protection payments
to be commenced upon order of the Court.)
      b. Adequate protection payments will be made in the amount of $                             to be paid directly by the
debtor(s), pre-confirmation to:                                  (creditor).


 Part 3: Priority Claims (Including Administrative Expenses)


      a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

  Name of Creditor                           Type of Priority                            Amount to be Paid

  CHAPTER 13 STANDING TRUSTEE                      ADMINISTRATIVE                            AS ALLOWED BY STATUTE

  ATTORNEY FEE BALANCE                            ADMINISTRATIVE                              BALANCE DUE: $ Hourly TBA

  DOMESTIC SUPPORT OBLIGATION

 ATTORNEY FEE BALANCE                        ADMINISTRATIVE                              BALANCE DUE: TBA (hourly, subject to
 Internal Revenue Service                    Taxes                                       court approval)
 State of NJ Division of Taxation            Taxes                                       Unknown(subject to POC)
                                                                                         Unknown (subject to POC)




      b. Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
         Check one:
         տ None
          տ The allowed priority claims listed below are based on a domestic support obligation that has been assigned
          to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
          U.S.C.1322(a)(4):



  Name of Creditor                  Type of Priority                        Claim Amount          Amount to be Paid

                                    Domestic Support Obligations
                                    assigned or owed to a
                                    governmental unit and paid less
                                    than full amount.
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 Part 4:    Secured Claims

   a. Curing Default and Maintaining Payments on Principal Residence: տ NONE
The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the
debtor shall pay directly to the creditor monthly obligations due after the bankruptcy filing as follows:
  Name of Creditor         Collateral or Type of      Arrearage        Interest      Amount to be           Regular Monthly
                           Debt                                        Rate on       Paid to Creditor       Payment Direct to
                           (identify property and                      Arrearage     by Trustee             Creditor
                           add street address, if
                           applicable)

 Quicken/Rocket           363 Vesta Court,           $250,000.00      Zero          $250,000.00
 Mortgage                 Ridgewood, NJ 07450        (subject to                    (subject to POC)         Debtor shall pay the
                                                     POC)                                                    regular monthly
                                                                                                             payment pursuant to
                                                                                                             the terms of the
                                                                                                             underlying loan
                                                                                                             documents unless
                                                                                                             otherwise ordered.




   b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: տ NONE
The Debtor will pay to the Trustee allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor monthly obligations due after the bankruptcy filing as follows:
  Name of Creditor        Collateral or Type of       Arrearage        Interest       Amount to be          Regular Monthly
                          Debt                                         Rate on        Paid to               Payment Direct to
                          (identify property and                       Arrearage      Creditor by           Creditor
                          add street address, if                                      Trustee
                          applicable)


                                                                                                            Debtor shall pay the
                                                                                                            regular monthly
                                                                                                            payment pursuant to
                                                                                                            the terms of the
                                                                                                            underlying loan
                                                                                                            documents unless
                                                                                                            otherwise ordered.
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    c. Secured claims to be paid in full through the plan which are excluded from 11 U.S.C. 506: տ NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of the petition
date and secured by a purchase money security interest in any other thing of value:
  Name of Creditor         Collateral                 Interest        Amount of          Total to be Paid Including Interest
                           (identify property and     Rate            Claim              Calculation by Trustee
                           add street address, if
                           applicable)




    d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments տ NONE
          1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as stated.
The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured claim is
identified as having “NO VALUE” it shall be treated as an unsecured claim.

                                NOTE: A modification under this Section ALSO REQUIRES
                              the appropriate motion to be filed under Section 7 of the Plan.


Name of           Collateral        Scheduled       Total         Superior Liens     Value of          Annual     Total Amount
Creditor          (identify         Debt            Collateral                       Creditor          Interest   to be Paid by
                  property and                      Value                            Interest in       Rate       Trustee
                  add street                                                         Collateral
                  address, if
                  applicable)




    2.) Where the Debtor retains collateral and completes all Plan payments, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.
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 e. Surrender տ NONE
     Upon confirmation, the automatic stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and
    that the stay under 11 U.S.C 1301 shall be terminated in all respects. The Debtor surrenders the following
    collateral:


Name of Creditor                   Collateral to be Surrendered (identify   Value of Surrendered      Remaining Unsecured
                                   property and add street address, if      Collateral                Debt
                                   applicable)




 f.     Secured Claims Unaffected by the Plan տ NONE
        The following secured claims are unaffected by the Plan:


      Name of Creditor                               Collateral (identify property and add street address, if applicable)


      American Credit Acceptance                    2020 Jeep Gladiator




  g. Secured Claims to be Paid in Full Through the Plan: տ NONE


Name of Creditor                   Collateral (identify         Amount            Interest      Total Amount to be Paid
                                   property and add street                        Rate          through the plan by Trustee
                                   address, if applicable)
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 Part 5:     Unsecured Claims տ NONE


     a. Not separately classified allowed non-priority unsecured claims shall be paid:
           տ Not less than $                    to be distributed pro rata
           տ Not less than                    percent
           տ Pro Rata distribution from any remaining funds

     b. Separately classified unsecured claims shall be treated as follows:


  Name of Creditor                    Basis For Separate Classification       Treatment                 Amount to be Paid
                                                                                                        by Trustee




 Part 6:     Executory Contracts and Unexpired Leases տ NONE

(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real property
leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except the
following, which are assumed:

  Name of Creditor      Arrears to be Cured     Nature of Contract or        Treatment by Debtor   Post-Petition Payment
                        and paid by Trustee     Lease                                              to be Paid Directly to
                                                                                                   Creditor by Debtor
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 Part 7:     Motions տ NONE

NOTE: All plans containing motions must be served on all affected lienholders, together with local form, Notice of
Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A Certification of
Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of Court when the plan
and transmittal notice are served

   a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). տ NONE

The Debtor moves to avoid the following liens that impair exemptions:

  Name of         Nature of      Type of Lien     Amount of     Value of       Amount of       Sum of All       Amount of
  Creditor        Collateral                      Lien          Collateral     Claimed         Other Liens      Lien to be
                  (identify                                                    Exemption       Against the      Avoided
                  property                                                                     Property
                  and add
                  street
                  address, if
                  applicable)


  1-Capital One   1 and 2:      1 and 2:         1-$1,323.23    1 and 2:      $55,800.00      $684,223.00       1-$1,323.23
  2-Cavalry       363 Vest      Judgments        2-$10,871.80   $630,000.00                                     2-$10,871.80
  Portfolio       Court,
  Services        Ridgewood,
                  NJ 07450




   b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured. տ NONE

      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with Part
4 above:

  Name of         Collateral     Scheduled        Total            Superior Liens    Value of Creditor’s    Total Amount of
  Creditor        (identify      Debt             Collateral                         Interest in            Lien to be
                  property                        Value                              Collateral             Reclassified
                  and add
                  street
                  address if
                  applicable)
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  c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. տ NONE
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void liens on
collateral consistent with Part 4 above:


  Name of              Collateral       Scheduled       Total Collateral   Amount to be Deemed    Amount to be Reclassified
  Creditor             (identify        Debt            Value              Secured                as Unsecured
                       property and
                       add street
                       address, if
                       applicable)




   d. Where the Debtor retains collateral, upon completion of the Plan and issuance of the Discharge, affected Debtor
may take all steps necessary to remove of record any lien or portion of any lien discharged.


 Part 8:       Other Plan Provisions

     a. Vesting of Property of the Estate
           տ    Upon confirmation
           տ    Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

      c. Order of Distribution
               The Trustee shall pay allowed claims in the following order:
                  1) Chapter 13 Standing Trustee Fees, upon receipt of funds
                  2) Administrative Expenses and fees
                  3) Secured Claims Arrearages
                  4) Priority claims
                  5) Unsecured claims
                  6)
      d. Post-Petition Claims
     The Trustee տ is, տ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in the
amount filed by the post-petition claimant.
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 Part 9:    Modification տ NONE


NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served in
accordance with D.N.J. LBR 3015-2.
        If this Plan modifies a Plan previously filed in this case, complete the information below.
        Date of Plan being Modified:                                     .


   Explain below why the plan is being modified:




     Are Schedules I and J being filed simultaneously with this Modified Plan?            տ Yes           տ No



Part 10: Non-Standard Provision(s):



Non-Standard Provisions:

տ NONE

տ Explain here:

Rocket Mortgage/Quicken Loans and/or Westlake Financial Services, its successors and/or assigns ATIMA, shall send Debtor
monthly statements, allow Debtors on-line access to
make post-petition payments, shall allow Debtor to make payments over the phone, shall send Debtors tax forms and information as
applicable and/or
required by contract or law.




Any non-standard provisions placed elsewhere in this plan are ineffective.
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Signatures



The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.


By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s) certify
that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan and
Motions.


I certify under penalty of perjury that the above is true.




      Date: 7-2-24                                                     /s/Mark H. Cho
                                                                       Debtor


                                                                        /s/Helen Cho
      Date: 7-2-24
                                                                       Joint Debtor


      Date: 7-2-24                                                     /s/Ralph A. Ferro, Jr., Esq.
                                                                       Attorney for the Debtor(s)
